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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

                              ORLANDO DIVISION

 EMMANUELLA ARMAND,
 NERILENE BALLARD, CHARLINE
 BOUFIN-TEBEU, JAVIER
 CUMERMA, KEVIN KERRICK, and                    Case No: 6:23-cv-00103 PGB-EJL
 TOLULOPE ODUYEJO-WILLIAMS,
 on behalf of themselves and all those         CLASS & COLLECTIVE ACTION
 similarly situated in the State of
 Florida,                                            JURY TRIAL DEMANDED

                               Plaintiffs,
 vs:

 LIFESTANCE HEALTH GROUP,
 INC., a Delaware corporation,

                            Defendant.



       FIRST AMENDED COMPLAINT FOR FINANCIAL DAMAGES AND
               INJUNCTIVE AND OTHER EQUITABLE RELIEF

       The above-named individual plaintiffs bring this collective and class action

lawsuit (individually and on behalf of others similarly situated) against LifeStance

Health Group, Inc., (“LifeStance”), and allege, upon personal information and

knowledge as to their own actions, their counsel’s investigation and upon

information and good faith belief as to all other matters, the following:


I.     NATURE OF THIS ACTION

       1.    Lead Plaintiffs, individually and on behalf of others similarly

situated, file this action due to LifeStance’s pattern and practice of (i) refusing to


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pay them wages lawfully and professionally earned in performing their job

responsibilities; (ii) ostracizing and condemning them for expressing their

opinions about their compensation, the “advance” LifeStance contrived for each

new Clinician, or anything having to do with patient billing; and (iii) seeking to

reclaim wages lawfully earned by them under the guise of “an advance” despite

the fact that this scheme to reclaim wages constitutes a violation of the Thirteenth

Amendment to the United States Constitution.

      2.     LifeStance’s vulturine business practices are systematically deployed

(without exception) throughout its entire network of facilities in the United States,

directly impacting the Lead Plaintiffs and all others similarly situated in the same

manner.


II.   JURISDICTION AND VENUE

      3.     This Court has original subject matter jurisdiction pursuant to 28

U.S.C. § 1331 because all three claims alleged herein are based on a federal statute,

and thus involve a federal question.

      4.     This Court equally has original subject matter jurisdiction based on

the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2) because this is a class

action where any member of a class of plaintiffs is a citizen of a state different from

the defendant and the aggregated amount in controversy exceeds five million

dollars, exclusive of attorney’s’ fees, interest, and costs.




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       5.        This Court has supplemental jurisdiction concerning the claim in

Count III - the Federal Declaration Act, 28 U.S.C. §2201(a) - pursuant to 28 U.S.C.

§ 1367(a).

       6.        Venue is proper based on 28 U.S.C. § 1391 because the acts giving rise

to the issues involved in this lawsuit occurred primarily within the boundaries of

this District.


III.   PARTIES

       7.        LifeStance is a publicly traded Delaware corporation that maintains

its principal place of business in Scottsdale, Arizona, but does business in over

thirty states across the nation, including the State of Florida.

       8.        Lead Plaintiffs (and the other individuals that would ultimately

comprise the collective and class members) are currently, or were at one time,

nonphysician employees of LifeStance classified as a “Clinician,” a term used by

LifeStance to identify nonexempt, W2 employees who provide mental health

clinical treatment or therapy to children, adolescents, and adults suffering from a

variety of mental health issues.


IV.    SUBSTANTIVE FACTS APPLICABLE TO ALL CLAIMS

       A.        Overview of LifeStance and its Business.

       9.        LifeStance boasts of being the nation’s largest mental healthcare

company focused on providing evidence-based, medically driven treatment

services for children, adolescents, and adults suffering from a variety of mental



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health issues in an outpatient care setting, both in-person and through its digital

health telemedicine alternative.

      10.    LifeStance likewise portrays itself as the largest provider of virtual

and in-person outpatient mental healthcare for children, adolescents, and adults

experiencing a variety of mental health conditions including depression, anxiety

disorder, schizophrenia, and post-traumatic stress disorder.

      11.    LifeStance boasts about its commitment to state-of-the-art clinical

excellence, its partnership and collaboration with other treating health care

providers to ensure continuity of care, its utilization of data to individually tailor

services for continual improvement in outcomes, and its focus on empowering

patients to make informed choices to help them achieve their goals.




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      12.   According to its public filings with the United States Securities and

Exchange Commission (the “SEC”), LifeStance broadcasts:




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      13.    Virtually all of LifeStance’s revenue is generated by its Clinicians,

which means LifeStance’s business would collapse if it did not have several

thousand hard working Clinicians to service its patients.




      14.    This fundamental dependence on Clinicians puts pressure on senior

management to focus on increasing the number of Clinicians it employs, retaining

these individuals, and rigorously increasing the number of daily patient

encounters per Clinician to enable LifeStance to achieve its revenue projections;

LifeStance’s inability to execute this critical business objective could result in its

demise as a going concern.


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        B.    LifeStance’s Initial Public Offering and Growth Strategy.

        15.   On February 16, 2021, LifeStance filed a Registration Statement on

Form S-1 with the SEC, which, after several amendments made in response to

comments from the SEC, would later be utilized for the initial public offering of

its stock to be traded on the NASDQ™ stock exchange under the ticker symbol

LFST.

        16.   LifeStance initiated a growth strategy, in anticipation of its public

offering, to radically increase the number of Clinicians (nationwide) it employs to

embellish its gross revenues numbers to support its representations in its initial

public offering documents to induce investment as alleged in the securities class

action lawsuit pending in the United States District Court for the Southern District

of New York, a case styled – Nizar S. Nayani et al vs. LifeStance Health Group, Inc. et

al., Case No. 1:22-cv-06833 (SDNY 2022).




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       17.    The characteristic of LifeStance’s growth strategy was its cavalier

undertaking to radically increase the number of Clinicians (nationwide) by

desperately acquiring existing psychiatric practices, and opening numerous new

facilities, throughout the United States while carelessly placing Clinicians in these

facilities knowing that it did not have sustainable patient numbers and operational

resources to support this ill-conceived growth strategy.

       18.    While LifeStance’s duplicitous growth strategy temporarily boosted

its stock value, this anarchic strategy has ultimately become a cataclysm afflicting

its employees and its ability to live up to its lofty and unrealistic growth

projections, which is evidenced by the fact that LifeStance’s stock value has

plummeted over sixty percent since its initial public offering.


       C.     Outbreak of Clinician Resignations.

       19.    LifeStance experienced a disturbing surge in Clinician resignations

during the period leading up to its initial public offering and has since experienced

a steady flow of Clinician resignations because it eschews modifying or correcting

its foreboding and dysfunctional business practices, especially as it relates to

compensating Clinicians1.




1
  It was generally known that the increase in Clinician resignations before the initial
public offering was a frequent topic of discussion in meetings held among senior
LifeStance managers, including meetings attended by LifeStance’s regional presidents,
regional clinical and medical directors, and senior clinical and medical directors, as well
as meetings attended by LifeStance’s chief growth officer, chief medical officer, and
senior clinical and medical directors.

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      20.      This outbreak of Clinician resignations was and continues to be

attributable to:

               a.     Hopelessness, despair, and distrust about their compensation,
            especially considering the promises (or misrepresentations) made by
            LifeStance during the recruitment and hiring process about the
            “significant” compensation each person could expect to receive as a
            LifeStance employee.

               b.     Dejection due to delays in receiving the network provider
            credentials necessary to bill for the Clinician’s services, which
            significantly impacts the Clinician’s ability to deliver clinical services to
            patients and earn an income.

               c.     Appallingly deficient operational resources (IT support,
            practice management resources, billing staff and support, office staff,
            knowledgeable individuals to assist patients with insurance questions,
            scheduling staff and other similar resources, and so forth), essential to
            enable Clinicians to effectively deliver clinical services to their patients.

               d.     A prominent lack of patients, despite representations by
            LifeStance to the contrary, coupled with Clinician overstaffing at various
            facilities with more Clinicians than patients available to keep each
            Clinician fully engaged and profitable.

               e.     Distressing business practices concerning its ethics with
            balance billing, underbilling, billing errors, collections, deficiencies in the
            administration of all patient insurance approvals and post visit billings,
            audits and investigations related to the way LifeStance managed its
            billings, among other significant administrative dysfunction that
            LifeStance attempted to control as its senior management made a mad
            dash to expand the corporation’s revenue base leading up to the initial
            public offering.

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       D.     LifeStance’s Subterfuge to Lure Clinicians into Accepting Employment
       with the Company.

       21.    Evidence will show that LifeStance engaged in a deliberate and

 planned subterfuge to lure prospective employees (Clinicians) into accepting

 employment with the company.

       22.    The first phase of this subterfuge is to deliberately deceive the person

 by selling them on the competitively high compensation package LifeStance offers

 to Clinicians, consistently advertising and telling prospects that the person will

 earn between $185,000 and $250,000, along with other perquisites detailed on its

 website and in job postings, and discussions with the human resources individuals

 responsible for recruiting Clinicians.




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       23.    Based on the representations made on its website and other

 promotion and recruiting materials there is no doubt that LifeStance sets the

 expectation that a new Clinician would receive a salary – and not a loan against

 future earnings – which would range between $185,000 and $245,000.2

       24.    In addition to LifeStance’s representations in its recruiting initiatives,

 it is noteworthy to likewise consider the representations it makes in its public

 filings with the SEC, including its annual report for fiscal year 2022:




 2
   Job positions in Cities such as New York, Chicago and various other metropolitan areas
 show a range of $185,000 to $300,000 for the starting salary. Social workers, who are also
 treated as Clinicians by LifeStance have a general range of $60,000 to $120,000 for their
 “salary,” but with the same payment metrics as the nurse practitioners and other
 nonphysician Clinicians, thus subjecting them to the very same scheme.

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       25.    LifeStance’s statement in its 2022 10-K filing about the “competitive

 compensation package it offers clinicians is very telling in that LifeStance boasts

 that its “clinicians are employed as W-2 employees. . . rather than independent

 contractors, the latter of which we believe is more common in the mental

 healthcare industry in the United States.”

       26.    This material representation, or some may argue misrepresentation,

 is critical to the issue of Clinician compensation in this Action. On the one hand,

 LifeStance boasts of treating its Clinicians as employees, paying them competitive

 compensation packages, higher salaries, and the like, while at the same time taking

 advantage of a payment scheme that is more similar to an independent contractor

 minus the aspects of such a relationship that would prevent it from becoming a

 form of indentured slavery.

       27.    The second phase of this subterfuge is to systematically conceal

 LifeStance’s plot to treat all wages paid during the first six to twelve months of the

 Clinician’s employment as a loan disguised as an advance that LifeStance expected

 the Clinician to repay if the person failed to satisfy LifeStance’s circuitous

 performance metrics; this obligation to repay wages follows the employee if the

 person leaves the company before LifeStance can recuperate the debt from the

 employee’s wages plus an exorbitant rate of interest.

       28.    Neither LifeStance’s job postings nor its public disclosure in filings

 with the SEC make mention of the “advance” or the fact that a Clinician is expected

 to repay his/her salary if the employee fails to satisfy LifeStance’s circuitous



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 performance metrics, and it certainly makes no mention of the fact that the

 advance would be treated as a loan that the person is expected to repay in full if

 the person leaves the company before LifeStance can reclaim the full amount of its

 investment/advance from the employee.

        29.    The prospective employee (Clinician) thus accepts employment with

 LifeStance under the delusion of earning a competitive salary when in fact the

 employee is signing up to become an indentured servant3.

        30.    Another aspect of LifeStance’s subterfuge is the delays and

 complications the person faces to obtain network provider credentials necessary

 to achieve LifeStance’s mercurial performance objectives.

        31.    It is fair to conclude that LifeStance was not only aware of the barriers,

 delays and complications associated by the credentialing process, but it also

 deliberately concealed them as part of its Machiavellian compensation scheme

 codenamed “an advance” – which was contrived to preserve its ability to recoup

 any wages paid to Clinicians at the whim of LifeStance’s senior management

 because LifeStance knew that it would not recognize profit from employing these

 newly hired Clinicians for several months; LifeStance basically passes its overhead




 3
   Indentured servitude is a form of labor where an individual is under contract to work
 without a salary to repay an indenture or loan within a certain timeframe. In this
 instance, the indentured servitude was the first full year of compensation and would last
 until the person repaid the indenture in full (including all interest), with the expectation
 and obligation that the indenture would be paid even if the servant/Clinician leaves the
 company. The 13th Amendment to the United States Constitution, however, made
 indentured servitude illegal in the United States and it is banned in nearly all countries.

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 associated with the employee onto the employee to bare the risk of accepting

 employment.

       32.    Another distressing aspect of LifeStance’s subterfuge relates to its

 abuse of its leverage (discussed below) to force resigning Clinicians to give thirty

 to sixty days advance notice of the person’s intent to terminate his/her

 employment, often discarding the person earlier once LifeStance can make certain

 adjustments.

       33.    LifeStance strategically exploits this notice period to reassign a

 Clinician’s patients to another therapist, while simultaneously taking steps to

 attenuate the Clinician’s ability to earn an income during the notice period; in most

 if not all instances, Clinicians receive little to no income during these pay periods.


       E.    LifeStance’s Refusal to Pay Clinicians the Full Amount of Compensation
       Earned, Along With its Refusal to Disclose Information About its Employer
       Generated Debt and the Employee’s Financial Performance Metrics Necessary to
       Determine Gross Wages.

       34.    LifeStance systematically refuses to pay Clinicians the full percentage

 of the service billing codes billed to insurance as specifically promised during the

 recruitment process and stated in LifeStance’s corporate policies, contractual

 agreements, and elsewhere in its business records4.




 4
  LifeStance is obligated to compensate Clinicians between fifty and sixty percent of the
 gross amounts billed to payors related to the Clinician’s treatment and service to
 LifeStance patients.

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       35.    LifeStance does not share any information with Clinicians about the

 metrics or data used to calculate their gross compensation or corresponding

 deductions from the “advance” each pay period.

       36.    The employee’s pay stub merely states a “gross number”, and

 provides minimal details about tax, insurance, and other standard deductions, but

 provides no information on how the gross wage number was determined, whether

 the number was an advance or actual wages, and the pay stub provides no details

 explaining deductions related to the “advance.”

       37.    Clinicians have habitually complained about this issue to LifeStance’s

 human resources personnel and management, but LifeStance rebuffs them and

 holds to the notion that the corporation is not obligated to share this information

 or any of the metrics it uses to determine the amount it arbitrarily pays to

 Clinicians each pay period.

       38.    As a result of LifeStance’s unfair and duplicitous business practices,

 Clinicians are unable to earn patient billing fees sufficient to offset the

 insurmountable debt obligation spawned from these “advances” due primarily to

 LifeStance’s mishandling of its operations, its plot to use this debt to create

 indentured servitude, its goal of placing obstacles that stifle a Clinician’s ability to

 satisfy LifeStance’s circuitous metrics for compensating them, and providing the

 leverage LifeStance needs to control the Clinician’s behavior by bullying them.




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         39.   The fees a Clinician earns from rendering patient services are

 inhumanely      constrained    (to   the   extent     these   individuals   receive   any

 compensation), resulting in the stockpiling of unbearable and insurmountable

 levels of debt that must, in the absence of earned fees, be repaid.

         40.   Preliminary investigation into these issues reveals that the range of

 debt Clinicians have and are likely to incur ranges between $10,000 and $50,000,

 depending on the length of time the person worked for LifeStance.


         F.    LifeStance’s Ruthless Use of Employer Generated Debt to Impose
         Indentured Servitude to Leverage and Supplement its Failing Financial
         Performance.

         41.   LifeStance’s indentured servitude is so ruthless that the company

 routinely pays an advance to Clinicians in instances where the person specifically

 requests that LifeStance cease making the advance to avoid getting further into

 debt.

         42.   LifeStance’s indentured servitude includes a ploy to use the

 insurmountable obligation as leverage to hold the employee hostage until

 LifeStance can replace the employee once the Clinician gives LifeStance notice of

 the person’s decision to terminate her/his employment.

         43.   LifeStance likewise uses the insurmountable obligation as leverage to

 cajole employees into remaining with the company (at a much lower salary) under

 the premise that LifeStance would excuse a portion of the debt while the Clinician

 “works off” the balance.




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       44.    The Federal Consumer Financial Protection Bureau (CFPB) has

 launched an inquiry into practices and financial products that may leave

 employees indebted to their employers, based on the concept of “employer

 generated debt,” which is akin to indentured servitude abolished by the Thirteenth

 Amendment to the United States Constitution.

       45.    There is a growing concern that these purported debt obligations are

 not only unfair, and unconstitutional, they are a gross injustice to Americans and

 a dereliction of public policy.

       46.    For example, workers may not understand that these arrangements

 involve an extension of credit, and they may not know whether they have the

 ability to comparison shop for credit offered by others or whether entering into

 the debt agreement is a condition of employment.

       47.    Another major policy concern is whether the worker understands

 whether the status of the debt may impact a decision to seek alternative

 employment.

       48.    These potential risks might limit competition in the labor market and

 in the market for similar consumer financial products and services that would not

 turn the person into an indentured servant of her or his employer.

       49.    Total household debt in the United States rose by $148 billion, or

 0.9 percent, to $17.05 trillion in the first quarter of 2023, according to the

 latest Quarterly Report on Household Debt and Credit.




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       50.      Mortgage balances climbed by $121 billion and stood at $12.04 trillion

 at the end of March 2023. Auto loan and student loan balances also increased to

 $1.56 trillion and $1.60 trillion, respectively, but credit card balances were flat at

 $986 billion, according to the Federal Reserve.

       51.      With average consumer debt in America on the rise, it’s no surprise

 that debt delinquency – missed payments of 30 days or more – has increased for

 nearly all debt types.

       52.      Even with that $16.9 trillion shared by about 340 million people,

 consumer debt statistics show that Americans are feeling the pain.

       53.      There is little debate in the United States that consumer debt is a major

 source of trauma on Americans, with debt being one of the most significant

 contributing factors to the decline of mental, emotional, and physical health in

 America over the past two decades, including being a leading cause in the rise in

 the destruction of American families through divorce, suicide, and other dreadful

 life events.

       54.      While some Americans may have the pleasure of taking a job to fulfill

 a career expectation or dream, there is little debate that most if not all Americans

 seek employment to support their families, loved ones, and of course themselves.

       55.      Both federal and state governments have enacted many laws to

 protect employees from the abusive and often predatory business practices and

 tactics some employers execute in their effort to control hard working Americans,




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 habitually attempting to convert them into slaves to service solely the interests of

 their master.

       56.     Because slavery was abolished, and government in the United States

 takes steps to foreclose abusive employment practices, Americans are able to take

 employment with the understanding that the person will be able to lawfully earn

 a wage to support their families and loved ones, including servicing the

 tremendous debt obligations that Americans are facing in these modern times.

       57.     Thus, the notion that an American can become an indentured servant

 merely by accepting employment is absurd, its unlawful and unconstitutional, and

 thus LifeStance’s efforts to impose indentured servitude on its employees must be

 stopped.


 V.    COLLECTIVE ACTION ALLEGATIONS

       58.     Lead Plaintiffs (and all putative members of the collective action)

 were (and some continue to be) nonexempt psychiatric and mental health nurse

 practitioners and other nonphysician employees of LifeStance - “Clinicians” - who

 provided mental health clinical services to LifeStance patients within the States of

 Florida at any time from January 2020 to the entry of judgment in this case (the

 “Collective Period”) and who:

               a.    Did not receive any compensation from LifeStance, during the
             individual’s employment, for a minimum of at least one week, with
             many not receiving compensation for as much as twelve weeks.




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                b.    Did not receive all compensation due them, to the extent the
             individual was paid, consistent with LifeStance’s obligation to
             compensate them a percentage of all services billed to patients, insurance
             companies, and others.

                c.    Paid some portion or all the specious debt obligation conceived
             solely by LifeStance for its own benefit as a condition of the employee’s
             employment.

                d.    Who had deductions from their wages for a debt and other
             obligations that were never disclosed or explained to them.

       59.      Clinicians were nonexempt employees for the applicable periods and

 were issued W2s by LifeStance.

       60.      Clinicians routinely worked forty and more hours per week several

 times a month while employed by LifeStance.

       61.      Clinicians routinely received compensation at a rate of less than $450

 per week for at least one week and as much as twelve weeks, with most having a

 pay period in which the employee did not receive any compensation for an entire

 month.

       62.      LifeStance’s ruthless business practices of creating indentured

 servitude vis-à-vis the advance, effectively eradicated the notion that Clinicians

 received any wages during the first six to twelve months of employment, since

 these funds were in treated as a loan by LifeStance that the employee must repay

 without exception.




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       63.     Therefore, since the advances were a “loan” and not wages (according

 to LifeStance) then the Clinician did not actually receive any wages during their

 first six to twelve months of employment, and in fact, the Clinician would not

 receive any wages until such time as the person generated enough fee income to

 repay its indenture to LifeStance and could receive compensation free and clear of

 any repayment expectation.

       64.     LifeStance’s unlawful compensation practices violate the Fair Labor

 Standards Act, 29 U.S.C. §§ 206, 207, 215 (the “FLSA”), which obligates LifeStance

 to pay nonexempt employees, including overtime and minimum wages, for all

 hours worked.

       65.     Pursuant to the FLSA, Lead Plaintiffs, and all others similarly

 situated, seek to prosecute their claims as a collective action on behalf of all current

 and former Clinicians during the applicable statutory period who were not

 compensated appropriately for all hours worked.

       66.     A collective action is appropriate in this circumstance because the

 collective action members are similarly situated in that:

             Þ They were all subjected to LifeStance’s ruthless and systematic
               unlawful compensation practices that deprived them of earning at
               least the federal minimum wage for all hours worked, failing to pay
               them overtime wages when appropriate, or both.

             Þ Each was to be paid on the same pay scale and formula, making the
               problems alleged herein the same for any person that was or is a
               Clinician.

             Þ They were victims of LifeStance’s ruthless and predatory scheme to
               not pay its employees all wages earned, and to use the employee’s
               wages as an asset on its balance sheet to impress its investors.

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             Þ They were forced to endure LifeStance’s predatory, systematic, and
               retaliatory behavior that denied them compensation, imposed
               illegally fabricated debt upon them, forced termination of
               employment (i.e., constructive termination), and which in almost
               every case caused the person to suffer emotional, psychological, and
               often physical harm.

             Þ LifeStance engaged in other dishonest conduct described above and
               later in this pleading, including, but not limited to, forcing indentured
               servitude vis-à-vis the unlawful and unconstitutional Clinician
               employment agreement that LifeStance required each of these
               individuals to sign as a condition of employment and continued
               employment.

       67.      Lead Plaintiffs, and all others similarly situated, are seeking statutory

 liquidated damages as provided by federal law for LifeStance’s systematic,

 ruthless, and predatory failure to pay wages as required by the FLSA, among other

 things.

       68.      The class of similarly situated individuals or potential collective

 members sought to be certified pursuant to the FLSA is defined as a person who

 was or is a Clinician during the Collective Period that suffered from the issues

 outlined in Paragraphs 20 through 57 above (among other issues outlined

 throughout this pleadings).

       69.      Based on preliminary investigation, members of the collective class

 can be placed into three separate subclasses:

             Þ Individuals classified by LifeStance as a licensed therapist or
               psychologist.

             Þ Individuals classified by LifeStance as a licensed psychiatric
               nurse practitioner.

             Þ Individuals classified by LifeStance as a licensed clinical social
               worker.

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       70.    The precise size and identity of the entire group of individuals

 comprising the collective action class members is ascertainable from LifeStance’s

 business records, tax records, and/or employee personnel records, including its

 website (https://lifestance.com) and those of its affiliated treatment facilities,

 which provides the name of all Clinicians purportedly “currently employed” by

 LifeStance, and contains information about person who were Clinicians and their

 historical employment data.

       71.    LifeStance compensated the collective action members in the same

 manner and under the same unlawful employee compensation program, and each

 of them has worked in Florida during the Collective Period.

       72.    Lead Plaintiffs maintain the right to modify the collective action

 member definition and/or to create additional subclasses or classes, if necessary,

 and to revise these definitions to maintain cohesive classes which do not require

 individual inquiry to determine liability.


 VI.   CLASS ACTION ALLEGATIONS

       73.    Lead Plaintiffs (and all putative members of the Class Action) were

 (and some continue to be) “Clinicians”, as defined above, at any time from January

 2020 to the entry of judgment in this case (the “Class Period”) and who suffered

 financial harm during the Class Period that suffered from the issues outlined in

 Paragraphs 20 through 57 above (among any other issues address in this

 pleading).




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       74.      Pursuant to Fed. R. Civ. P. 23, Lead Plaintiffs, and the Class Members,

 seek to prosecute their declaratory relief and common law claim as a class action

 on behalf of all current and former LifeStance employees who were not

 compensated appropriately for services performed as Clinicians for LifeStance.

       75.      A class action is appropriate in this circumstance because the Class

 Members are similarly situated in that they were subjected to LifeStance’s

 unlawful employment practices while performing services on LifeStance’s behalf,

 such as providing treatment to children, adolescents, and adults suffering from a

 variety of mental health issues and increasing profits for the benefit of LifeStance

 through their activities.

       76.      Lead Plaintiffs and putative class members were non-exempt

 employees for the applicable periods and were issued W2s by LifeStance.

       77.      The class of similarly situated individuals or potential Class Members

 sought to be certified pursuant to Fed. R. Civ. Pro. 23 is defined in above.

       78.      Based on preliminary investigation, members of the class action can

 be placed into three separate subclasses:

             Þ Individuals classified by LifeStance as a licensed therapist or
               psychologist.

             Þ Individuals classified by LifeStance as a licensed psychiatric
               nurse practitioner.

             Þ Individuals classified by LifeStance as a licensed clinical social
               worker.




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       79.     The precise size and identity of the entire class is ascertainable from

 LifeStance’s business records, tax records, and/or employee personnel records,

 including its website (https://lifestance.com), which provides the name of all

 Clinicians purportedly “currently employed” by LifeStance.


       A.      Numerosity of the Class.

       80.     Class Members are so numerous that their individual joinder is

 impracticable.

       81.     Although the precise identities, numbers and addresses of all Class

 Members are currently unknown to Lead Plaintiffs, the facts on which the

 calculation of that number can be based are presently within the sole control of

 LifeStance.

       82.     Upon information and belief, there are three hundred and fifty (350)

 or more potential members of the class action during the Class Period.


       B.      Existence of Common Questions of Fact and Law.

       83.     There is well-defined commonality in the questions of law and fact

 involved affecting Class Members. The common questions of law include, but are

 not limited to:

                     a.     Whether LifeStance employed Class Members within the
               meaning and classifications as prescribed by law.

                     b.     What proof of hours worked is sufficient where
               employers fail in their duty to maintain time records.




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                   c.     Whether LifeStance failed and/or refused to pay Class
            Members for services performed for the direct benefit of LifeStance.

                   d.     Whether LifeStance failed and/or refused to compensate
            Class Members for all hours worked and benefits conferred to
            LifeStance.

                   e.     The misclassification and/or appropriate classification
            of the Class Members.

                   f.     Whether the loan disguised as a wage advance is
            unconstitutional since it creates indentured servitude in violation of
            the 13th Amendment of the United States Constitution.

                   g.     Whether LifeStance’s efforts to reclaim wages vis-à-vis
            calling them an advance is lawful and enforceable.

                   h.     Whether LifeStance must repay any portions of the so-
            called advance that it has collected from its employees.

                   i.     Whether LifeStance acted with intention—willfully and
            maliciously—in its actions; and

                   j.     Whether LifeStance is liable for all damages claimed
            hereunder, including but not limited to compensatory, liquidated,
            interest, costs and disbursements, and attorneys’ fees.

      C.    Typicality of the Class.

      84.   Lead Plaintiffs’ claims are typical of the claims of all Class Members

 because they were employed in the same capacity during the Class Period; Lead

 Plaintiffs experienced the same harms and violations of law as all other Class

 Members.




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       85.    Additionally, all claims arise from the same conduct and factual basis

 including LifeStance’s historical ruthless, impious, and predatory compensation

 practices, as described above.


       D.     Adequacy of the Class Representatives and Counsel.

       86.    Lead Plaintiffs are adequate representatives of Class Members

 because their interests do not conflict with the interests of the other Class Members

 they seek to represent.

       87.    Lead Plaintiffs have retained competent trial counsel for this class

 action and intend to vigorously pursue this action.

       88.    Lead Plaintiffs and their trial counsel will fairly and adequately

 protect the interests of Class Members.


       E.     Predominance and Superiority.

       89.    A class action is superior to other available methods for the fair and

 efficient adjudication of this litigation—particularly in the context of wage

 litigation like the present action, where individual plaintiffs may lack the financial

 resources to vigorously prosecute a lawsuit in federal court against LifeStance.

       90.    The individual members of the class do not have an interest in or

 capacity to bring separate actions.

       91.    Lead Plaintiffs find it is desirable to concentrate the litigation into one

 cohesive case.




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        92.   There are no likely difficulties that will arise in managing the class

 action.

        93.   This suit may be maintained as a class action under Federal Rule of

 Civil Procedure 23(b)(3) because questions of fact and law common to the Class

 Members predominate over the questions affecting only individual members of

 the class; a class action is superior to other available means for the fair and efficient

 adjudication of this action.

        94.   The damages suffered by individual Class Members may be

 disproportionate to the burden and expense of complex litigation of these claims

 on an individual basis.

        95.   Additionally, individual litigation may lead to inconsistent and

 conflicting judgments against LifeStance; therefore, effective redress for every

 Class Member may be limited or impossible.

        96.   A class action which involves all Class Members favors judicial

 economy, fairness, and provides the benefit of a single, consistent, adjudication on

 the issues herein claimed.

        97.   Lead Plaintiffs maintain the right to modify the class and or create

 additional subclasses or classes, if necessary, and to revise these definitions to

 maintain cohesive classes which do not require individual inquiry to determine

 liability.




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 VII.   BASIC CONDITIONS PRECEDENT ALLEGATIONS

        98.   Lead Plaintiffs have engaged the law firm of éclat law, PA to serve as

 its lead trial counsel and are obligated to compensate these law firms for services

 rendered in connection with prosecuting the Collective Members and Class

 Members’ rights as alleged herein.

        99.   All conditions precedent to filing this lawsuit have occurred, have

 expired, or have been effectively waived.

                    COUNT I: FAIR LABOR STANDARDS ACT

        100. The Lead Plaintiffs reallege and incorporate by reference the

 allegations contained in paragraphs 1 through 72, 98 and 99 as if fully set forth

 herein.

        101. This is a cause of action for unpaid wages and damages under the Fair

 Labor Standards Act, 29 U.S.C. § 201, et. seq.

        102. LifeStance was or continues to be the employer of all Clinicians, the

 individuals that would comprise the members of the collective action within the

 meaning of FLSA 29 U.S.C. §203(d).

        103. Clinicians (the individuals that would comprise the members of the

 collective action) were or continue to be “employees” of LifeStance within the

 meaning of FLSA, 29 U.S.C. § 203.

        104. Although the Plaintiffs are medical professionals (however, they are

 not doctors), they were W2 employees that literally received no income for several

 weeks out of the year for the service they provided to patients on LifeStance’s

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 behalf, including without limitations the constraints on receiving compensation

 articulated in paragraphs 20 through 57.

       105. The Clinicians were hired by LifeStance to perform duties on behalf

 of and for the benefit of LifeStance consistent with its overall business platform

 and objectives as described generally in paragraphs 20 through 57 above.

       106. By failing to pay the Clinicians (the individuals that will comprise the

 members of the collective action) minimum wages, overtime wages, failing to

 outright pay complete wages free and clear as required by law, LifeStance has

 violated Sections 206, 207, and 215 of the FLSA, amongst other laws, and such

 conduct was willful within the meaning of the FLSA.

       107. LifeStance understood it had an affirmative obligation to pay the

 Collective Members for all hours that they spent working for its benefit, yet it

 intentionally and routinely failed to pay such compensation as described above.

       108. LifeStance a culture of toxicity and a hostile work environment

 during, after, and before the applicable period at issue, which included, but was

 not limited to, the indentured servitude described previously in this pleading.

       109. Instead of lawfully paying its employees, LifeStance established and

 maintained systems, policies, and procedures that were intentionally designed to

 avoid paying employees their earned wages as detailed in the paragraphs above.

       110. LifeStance has engaged in a widespread systematic pattern, policy,

 and practice of violating the FLSA, as detailed throughout this Complaint.




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       111. The Clinicians are entitled to be paid at least minimum wage for all

 hours worked during the workweek pursuant to FLSA 29 U.S.C. § 206.

       112. LifeStance violated FLSA 29 U.S.C. § 206 by failing to pay the

 Clinicians minimum wages for all hours worked, as described above, and caused

 the Clinicians to suffer lost wages and interest thereon.

       113. LifeStance knowingly and willfully carried out its illegal pattern or

 practice of failing to pay proper wages as compensation.

       114. As a result of LifeStance’s intentional, willful, and unlawful acts in

 refusing to pay the Clinicians minimum wages, overtime wages, and wages in

 general (i.e., no payment was made at all) for one or more workweeks during the

 applicable Collective Period, the Clinicians have suffered damages, and incurred

 reasonable attorneys’ fees and costs as provided in the FLSA.

       115. As a result of LifeStance’s willful violation of FLSA § 206, 207, and

 215, the Clinicians are entitled to recover the full amount of any unpaid back wages

 unlawfully withheld, and any damages experienced due to LifeStance’s retaliatory

 acts and liquidated damages as per 29 U.S.C. § 216 and other provisions within the

 FLSA statute.

       116. The Clinicians are entitled to recover from LifeStance their unpaid

 minimum wages/overtime wages, damages for unreasonably delayed payment of

 wages, and any damages experienced due to LifeStance’s retaliatory acts,

 liquidated damages or pre-judgment interests, reasonable attorneys’ fees, and

 costs and disbursements pursuant to the FLSA statute.


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       117. Because LifeStance’s violations of the FLSA have been willful, a three-

 year statute of limitations applies pursuant to 29 U.S.C. § 255.


           COUNT II - FAIR LABOR STANDARDS ACT – KICK BACKS


       118. The Lead Plaintiffs reallege and incorporate by reference the

 allegations contained in paragraphs 1 through 72, 98 and 99 as if fully set forth

 herein.

       119. Pursuant to 29 C.F.R. § 531.35, wages cannot be considered to have

 been paid by the employer to the employee unless they are paid finally and

 unconditionally or “free and clear.”

       120. Further, wage requirements will not be met where the employee is

 required to “kicks-back” directly or indirectly to the employer or to another person

 for the employer’s benefit the whole or part of the wages delivered to

 the employee.

       121. Kickbacks include but are not limited to direct reductions in

 employee’s pay checks for the benefit of the employer, amongst other things.

       122. LifeStance routinely and systematically made illegal deductions to

 the Clinician’s pay without reason or description—a benefit kicked-back directly

 to LifeStance as described in paragraphs 20 through 57 above.

       123. Thus, Clinicians were routinely forced to kick-back their wages to

 LifeStance, which consequently benefitted the employer to the detriment of the

 employee.



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         124. LifeStance’s erratic and unlawful deductions of the Clinician’s earned

 wages resulted in its willful violation of 29 C.F.R. § 531.35 as the Collective

 Members’ pay was not provided “free and clear” of other conditions as described

 with particularity throughout paragraphs 20 through 57 above.

         125. As stated earlier, wages were paid and conditioned upon repayment

 of a “loan” to W2 employees that must be paid back to the employer in full without

 exception, and LifeStance would seek to reclaim these dollars advance if the

 Clinician left the company prior to paying back the indenture in full.

         126. Such deductions at many times during their tenure with LifeStance

 caused Clinicians to earn $0 for work conducted or, less than $450.00 in a given

 week.

         127. As a direct and proximate result of the kickbacks described

 throughout this Complaint, the Clinicians were damaged because they did not

 enjoy the earned benefit of their whole paycheck, without any kickbacks to

 LifeStance.


                        COUNT III: DECLARATORY RELIEF


         128. Lead Plaintiffs reallege and incorporate by reference the allegations

 contained in paragraphs 1 through 57, and 73 through 99 as if fully set forth

 herein.




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       129. This is a claim against LifeStance to the federal Declaratory Judgment

 Act, 28 USC §2201(a), seeking a declaration that:

          Þ The advance that LifeStance uses to create indentured
            servitude is a violation of the 13th Amendment to the United
            States Constitution, thereby making it an illegal and
            unenforceable obligation.

          Þ LifeStance cannot take any further action to seek to collect on
            its indenture as such action is unconstitutional and thus
            unenforceable.

          Þ LifeStance must repay all Clinicians whatever portion of the
            indenture it has collected from them as of the date of the entry
            of final judgment in this action.

       130. The parties are in dispute as to the validity and enforceability of

 LifeStance’s unconscionable, predatory, and unconstitutional compensation

 policies, procedures, and agreements including its creation of indentured

 servitude wherein it expects its employees to repay all wages “advanced” to them

 during their first six to twelve months of employment.

       131. While it appears that LifeStance may recognize that its scheme to

 recover wages and other compensation earned by its Clinicians is unethical,

 unlawful, and perhaps ruthless and predatory, LifeStance nonetheless continues

 to create these unconstitutional obligations and continues to seek to enforce them

 by engaging in aggressive tactics against the Clinicians to collect the money,

 including those articulated specifically in paragraphs 36 through 57.




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       132. LifeStance has threatened legal action against Lead Plaintiffs and

 other Clinicians for nonpayment of this indenture, which Lead Plaintiffs and all

 Clinicians contend is unconstitutional as it violates the 13th Amendment to the

 United States Constitution, among other laws, and public policy of protecting

 Americans against slavery in any form.

       133. Lead Plaintiffs and all Clinicians affirmatively assert that LifeStance’s

 attempt to reclaim (or keep) wages that the Clinician have lawfully eared is not

 valid, binding, or enforceable – this proscribed conduct is unconscionable,

 unconstitutional, against public, and therefore should not be enforce as a matter

 of law.

       134. An actual controversy exists as to the rights and obligations of the

 respective parties.

       135. LifeStance illegally reclaims and takes wages that it pays to its

 Clinicians by calling them “an advance” in its Machiavellian attempt to create the

 illusion that it is paying its employees the competitive salary that it agreed to pay

 them when they accepted employment with LifeStance, while at the same time

 creating an artifice by which they can take a significant portion of those wages

 back from the employee, together with interest accruing on a monthly basis.

       136. LifeStance is of the opinion that its behavior is lawful, and thus it

 continues to require Clinicians repay the advance under the guise that the

 corporation has the right to require an indenture as a condition of employment,

 although this indenture does not apply to senior management at LifeStance, none


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 of whom are a Clinician or an individual that actually generates an income for the

 corporation.




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       137. As previously mentioned, Lead Plaintiffs and Clinicians, on the other

 hand, contend that the indenture referred to as an advance is unlawful,

 unconstitutional and engenders the ancient practice of indentured servitude for

 Clinicians, which has long since been banned in the United States vis-à-vis the 13th

 Amendment to the United States Constitution.

       138. The provisions are clearly against public policy as it is certainly

 against the public interest to allow a publicly traded company to avoid paying its

 employees. It instead requires that its employees pay it (the company) for the time

 that the employees performed work for the company.




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       139. In essence, there is no benefit provided to the employee whatsoever

 in exchange for performing work on behalf of LifeStance.

       140. LifeStance retains all the benefit of the significant revenue5 it has

 received from the efforts of the Clinicians.

       141. Lead Plaintiffs request that the Court intervene to interpret the

 Clinician employment agreements and make affirmative findings to determine:

                a.      Whether the “claw back” or “advance” provisions of the

           contract are void and unenforceable, eradicating the entire contract as

           compensation provisions are a material term of the contract.

                b.      Whether the employment contract or corporate policies

           regarding “Obligations Upon Termination” is void and unenforceable as

           it        relates   to    the       repayment/reimbursement      of     the

           Incentives/Advance/Debt.

                c.      Whether     the     “Compensation”    and    “Advance       on

           Compensation” provisions of the contract (and accompanying schedule)

           are void and unenforceable, eradicating the entire contract as

           compensation provisions are a material term of the contract; and

                d.      Whether the contract between the parties created a valid,

           binding, enforceable, and lawful monetary repayment obligation (debt)

           against Plaintiffs and in favor of LifeStance.



       5
         LifeStance’s reported gross revenue for calendar year appears to have exceeded
 $580,000,000 based on its public filings with the SEC.


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       103.   Plaintiffs have no adequate remedy at law.



                               PRAYER FOR RELIEF

       WHEREFORE, Class Members/Collective Action Members respectfully

 request that judgment be entered in their favor and against LifeStance Health

 Group, Inc., and:

       1)     Certification and acknowledgement of the Collective Action (Counts

 I-II of this litigation) and appointment of the above-named Plaintiffs and their

 counsel for the opportunity to represent the collective class action.

       2)     Certification of this action (Counts III) as a Class Action pursuant to

 Fed. R. Civ. P. 23(b)(2) and (3) on behalf of members of the Class and appointment

 of the above-named Plaintiffs and their counsel to represent the class.

       3)     Awarding Class Members/Collective Action Members the relief

 sought in each individual Count, including without limitation declaring that

 LifeStance’s attempt to create indentured servitude is unconstitutional and thus

 unenforceable as a matter of law, and entering an injunction to enjoin LifeStance

 from continuing to engage in this unlawful conduct.

       4)     Awarding Class Members/Collective Action Members and the

 above-named Plaintiffs liquidated damages to the full extent permissible under

 the law.

       5)     Awarding Class Members/Collective Action Members and the

 above-named Plaintiffs attorneys’ fees and costs pursuant to the applicable

 Federal laws.

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       6)     Awarding Class Members/Collective Action Members and the

 above-named Plaintiffs punitive damages and/or pre-judgement interest

 pursuant to the applicable Federal laws.

       7)     Granting Class Action Members an Order on an expedited basis,

 allowing them to send notice of this action, pursuant to Fed. R. Civ. P. 23, to those

 similarly situated.

       8)     Granting Collective Action Members an Order, on an expedited basis,

 allowing them to send notice of this action as a collective action pursuant to 29

 U.S.C. § 216(b) to those similarly situated Collective Action Members.

       9)     Entry of a judgment declaring that the employment contract in its

 entirety is void and unenforceable, including the eradication of the false debt that

 LifeStance attempts to create through the employment contract, together with any

 other remedy provided and applicable under law.

       10)    Any other relief this Court deems just and proper.


                              DEMAND FOR JURY TRIAL

       Plaintiffs respectfully request a jury trial on all triable issues above.


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                       Altamonte Springs, Florida 32716
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                       Lead trial counsel to Lead Plaintiffs and Class
                       Member/Collective Action Members

                       _________________________________
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                          CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

 with the Clerk of Court this 1st day of June 2023 by using the Federal Case

 Management/Electronic Case Files System (CM/ECF System). Accordingly, a

 copy of the foregoing is being served on this day to all attorney(s)/interested

 parties identified on the CM/ECF Electronic Service List, via transmission of

 Notices of Electronic Filing generated by the CM/ECF System



                                             ______________________
                                             Kevin K. Ross-Andino




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